Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 1 of 72




                            UNITED STATES DISTRICT CO URT                     FILED BY            -         D.C.
                            SOUTH ERN DISTRICT OF FLORIDA
                                     M iam iDivision                                 p,lï 12 2221
                                                                                      ANGELA E.NOESLE
                               CASE NO.:1:20-CV-21180-M G C                          cLEf4K U.S.DIsTLc'rL
                                                                                     s.D.oF FLA.-MIAMI




                       M O TIO N TO EN R O LL A S PR O SE LITIG A N T

             NOW INTO COURT through undersigned cotm selcom es,M RON PARKER,

      apro selitigantm adea partyto thiscomplaint,who respectfully m ovesthisHonorable

      Courtto allow him to enrollasapro se litigant.

             W HEREFORE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                          Respectfully subm itted,

                                                          4..- Q ï
                                                                 w-
                                                          Aâon Parker
                                                          716 Third Street
                                                          G retna,LA 70053
                                                          (504)362-2828



                                  CER TIFICA TE O F SERV ICE


             1,Aaron Parker,certify that a copy of the foregoing pleading wms served on

      previous counsel,defendantand the govem ment by m ailing the snm e to each properly

      addressed and postageprepaid on this5thday ofM ay 2021.

                                   #- ,îw.
                                          A aron Parker
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 2 of 72




                            UNITED STATES DISTRICT COURT
                            SO U TH ER N D ISTR ICT O F FLO RID A
                                        M iam iD ivision

                               CASE NO .:1:20-CV-21180-M GC


                                           O R DE R


              THE FOREGOING CONSIDERED;

              IT IS HEREBY O RDERED thatAaron Parker,

      be enrolled as a pro se Iitigant.


              THUS DO NE AND SIGNED in M iam i,Floridathis          day of   ,
      2021.



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            Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 3 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 4 of 72



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                            UM TED STATES DISTRICT CO URT
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                               CA SE N O .:1:20-C V -21180-M G C                   s.D.t')fzFLA.-MIAMI




                       M OTION TO ENROLL AS PRO SE LITIGANT

             NOW INTO COURT through undersigned cotmselcomes,ANDRE

      STERLING, apro se litigantm adeaparty to thiscom plaint,who respectfully movesthis

      Honorable Courtto allow him to enrollasapro se litigant.

             W H EREFO R E,plaintil respectfully requests thattlziscourtgranthis m otion.



                                                       Respectfully submitted,

                                                                          (,
                                                          dre Sterllng
                                                       716 Third Street
                                                       G retna,LA 70053
                                                       (504)362-2828



                                  CER TIFICA TE O F SER VIC E


             1,Andre Sterling,certify that a copy of the foregoing pleading wms served on

      previous counsel,defendant and the govem m entby m ailing the same to each properly

      addressed and postageprepaid on this5tltday ofM ay 2021.

                                            ' Q-,
                                                .
                                         A ndre Sterling
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 5 of 72




                            UNITED STATES DISTRICT COURT
                            SO UTH ERN DISTRICT OF FLORIDA
                                      M iam iD ivision

                               C A SE N O .:1:20-CV -21180-M G C


                                           ORDER


              TH E FOREGOIN G CONSIDERED;

              IT IS HEREBY O RDERED thatAndre Sterling,

      be enrolled as a pro se Iitigant.


              TH US DONE AND SIGNED in M iam i,Floridathis         day of   ,
      2021.



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              Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 6 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 7 of 72


                                                                              FILED BY                        D.C.
                           UNITED STATES DISTRICT COURT
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                              CASE NO .:1:20-CV-21180-M GC




                       M OTION TO ENROLL AS PRO SE LITIGANT

            NOW INTO COURT through undersigned counselcomes,BRITTAN Y

      W ILLIAM S, apro selitigantm adea party to thiscomplaint,who respectfully m oves

     thisHonorable Courtto allow herto enrollasapro selitigant.

            W HEREFO RE.plaintil respectfully requeststhatthiscourtgrantherm otion.



                                                          Respectfully subm itted,

                                                               e       U;f?;
                                                          Britlnny W linm s
                                                          716 Third Street
                                                          Gretna,LA 70053
                                                          (504)362-2828



                                 CERTIFICATE O F SERVICE


            1,Britony W illinm s,certify thata copy ofthe foregoing pleading wmsserved on

      previous cotmsel,defendantand the governm entby m ailing the snm e to each properly

      addressed andpostageprepaid on this5thday ofM ay 2021.
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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 8 of 72




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLO RIDA
                                  M iam iD ivision

                             CASE NO.:1:20-CV-21180-M GC


                                         O R D ER


            TH E FOREG OING CO NSIDERED ;

            IT IS HEREBY ORDERED thatBrittany W illiam s,

    be enrolled as a pro se litigant.


            TH US DONE AND SIGNED in M iami,Floridathis     day of      ,
    2021.



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                                                      Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 9 of 72

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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 10 of 72

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                             UNITED STATES DISTRICT COURT
                             SO UTH ERN DISTRICT OF FLORIDA                         Mlt 12 2221
                                       M iam iD ivision                              ANGELA E.NOBLE
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                                 C A SE N O .:1:20-CV -21180-M G C




                         M OTION TO ENROLL AS PRO SE LITIGM T

              NO W INTO CO URT through tmdersigned cotmselcomes,CHARLES

        DALTON, apro se litigantmade aparty to thiscomplaint,who respectfullym ovesthis

        Honorable Courtto allow ltim to enrollasapro selitigant.

               W H ER EFO RE ,plaintil respectfully requeststhatthiscourtgranthism otion.



                                                         Respectfully subm itted,

                                                         Ck ,às zc
                                                         CharlesD alton
                                                         716 Third Street
                                                         Cyretna,LA 70053
                                                         (504)362-2828



                                    CERTIFICA TE O F SERVICE

               1,Charles Dalton,certify thata copy of the foregoing pleading was served on

        previous counsel,defendantand the governmentby mailing the snm e to each properly

        addressed and postageprepaid on this5thday ofM ay 2021.

                                    f       -
                                           CharlesD alton
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 11 of 72




                             UNITED STATES DISTRICT CO URT
                             SO UTH ERN DISTRICT OF FLORIDA
                                       M iam iD ivision

                                CASE NO .:1:20-CV-21180-M G C


                                            ORDER


                THE FO REGOING CONSIDERED;

                IT IS HEREBY O RDERED thatCharles Dalton,
        be enrolled as a pro se Ii
                                 tigant.


                THUS DONE AND SIGNED in M iam i,Floridathis     day of      ,
        2021.



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                  Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 12 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 13 of 72



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                        M OTION TO ENROLL AS PRO SE LITIG ANT

             NOW INTO COURT through tmdersigned cotmselcom es,DANNA JOHNSON,

       apro se litigantmade aparty to thiscomplaint,whorespectfully m ovesthisHonorable

       Courtto allow herto enrollasa pro selitigant.

             W H EREFORE,plaintif respectfully requeststhatthiscourtgranthermotion.



                                                       Respectfully subm itted,


                                                        nnna Jo on
                                                                    l,v-
                                                       716 Third Street
                                                       Gretna,LA 70053
                                                       (504)362-2828



                                   CERTIFICATE O F SERVICE


             IsDanna Johnson,certify that a copy of the foregoing pleading was served on

       previous counsel,defendantand the government by mailing the snme to each properly

       addressed and postageprepaid on this5thday ofM ay 2021.

                                     /-          X .w#
                                          Danna Johnson
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 14 of 72




                             UNITED STATES DISTRICT COURT
                             SO U TH ER N DISTR ICT O F FLO RIDA
                                         M iam iDivision

                                CASE NO .:1:20-CV-21180-M GC


                                            ORDER


               TH E FO R EG O IN G C O N SID ER ED ;

               IT IS HEREBY O RDERED thatDanna Johnson,

       be enrolled as a pro se litigant.


               TH US DONE AND SIGNED in M iam i,Floridathis        day of   ,
       2021.



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                Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 15 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 16 of 72


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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT O F FLO RIDA                         M4t 12 2021
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                      M O TION TO ENROLL AS PRO SE LITIGANT

            NOW INTO COURT through undersigned cotmselcom es,DIANNE

      JOHNSON, apro se litigantm ade aparty to thiscomplaint,who resm ctfully movesthis

      HonorableCourtto allow herto enrollasapro selitigant.

            W H EREFORE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                        Respectfully submitted,


                                                        D innne Johns
                                                        716Tilird Street
                                                        Grem a,LA 70053
                                                        (504)362-2828



                                 CER TIFIC A TE O F SERV ICE


            1,Dianne Jolmson,certify that a copy ofthe foregoing pleading was served on

      previous counsel,defendantand the government by m ailing the snme to each properly

      addressed andpostageprepaid o this5thday ofM ay 2021.
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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 17 of 72




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT O F FLO RIDA
                                    M iam iDivision

                               C ASE N O .:1:20-C V-21180-M G C


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              TH E FOREG OIN G CONSIDERED;

              IT IS HEREBY ORDERED thatDianne Johnson,

      be enrolled as a pro se Iitigant.


              TH US DONE AND SIGNED in M iam i,Florida this       day of   ,
      2021.



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                       Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 18 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 19 of 72


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                            UNITED STATES DISTRICT CO URT
                            SOUTH ERN DISTRICT OF R ORIDA                         Ml.
                                                                                    t 12 2821
                                     M iamiDivision                               ANGELA E.NOEILE
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                               C A SE N O .:1:20-CV -21180-M G C




                        M OTION TO ENROLL AS PRO SE LITIG ANT

             N O W IN TO C O U R T through undersigned counselcom es,DIA N NE

       M CKENDALL, apro se litigantm ade aparty to thiscomplaint,who respectfully m oves

       thisHonorableCourtto allow herto enrollasapro selitigant.

             W H EREFORE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                       Reqpectfully subm itted,
                                                            -
                                                                        )
                                                                        ,

                                                       Dinnne M cKendall
                                                       716 Third Street
                                                       Grema,LA 70053
                                                       (504)362-2828



                                  CER TIFICA TE O F SER VIC E


             1,Dianne M cKendall,certify thata copy ofthe foregoing pleading wasserved on

       previous counsel,defendant and the govem mentby m ailing the sam e to each properly

       addressed andpostageprepaid on this5thday ofM ay 2021.

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                                       D ianne M cKendall
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 20 of 72




                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT O F FLO RIDA
                                    M iam iD ivision

                               C ASE N O .:1:20-C V -21180-M G C


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              THE FOREG OING CONSIDERED;

              IT IS HEREBY O RDERED thatDianne McKendall,

      be enrolled as a pro se Iitigant.


              THUS DONE AND SIGNED in M iam i,Florida this         day of   ,
      2021.



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                  Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 21 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 22 of 72



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                            UNITED STATES DISTRICT COURT
                            SO UTHERN DISTRICT OF FLORIDA
                                     M iam iDivision                                   Mti
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                               CASE NO .:1:20-CV-21180-M GC                            s.o.oF FuA.-MIAMI




                       M OTION TO ENRQLL AS PRO SE LITIGANT
            N OW INTO COURT through undersigned counselcomes,DIEDRA PRICE, a

      pro se litigantmade aparty to thiscomplaint,who respectfullym ovesthisHonorable

      Courttoallow herto enrollasapro selitigant.

            W HEREFO RE,plaintiffrespectfully requeststhatthiscourtgrantherm otion.



                                                            Respectfully subm itted,
                                                               -
                                                                    .
                                                            DiedraPrice
                                                                        J-,
                                                                          .c.
                                                                          - -,..
                                                            716 Third Street
                                                            Gretna,LA 70053
                                                            (504)362-2828



                                  C ER TIFIC A TE O F SER V IC E


             1,Diedra Price, certify that a copy of the foregoing pleading was served on

      previous counsel,defendantand the govem mentby mailing the same to each properly

      adclressed and postageprepaid o   is5thdayofM ay 2021.

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                                            D iedra Price
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 23 of 72




                           IJNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT O F FLO RIDA
                                     M iam iD ivision

                               CASE NO.:1:20-CV-21180-M GC


                                           O R D ER


              TH E FOREG OIN G CONSIDERED ;

              IT IS HEREBY ORDERED thatDiedra Price,

      be enrolled as a pro se litigant.


              TH US DONE AND SIGNED in M iam i,Florida this   day of     ,
      2021.



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                     Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket                                                                                                                                                                                     I




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 25 of 72




                             UNITED STATES DISTRICT CO URT
                             SOUTH ERN DISTRICT OF FLORIDA
                                      M iam iD ivision                       FILED BY                      D.C.

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                                                                                    s.D.OF FLA.-M IAMI




                        M OTION TO ENROLL AS PRO SE LITIG ANT
             NOW INTO CO URT through undersigned counselcom es,ELTON LEE, apro

       se litigantm ade aparty to thiscomplaint,who respectfully m ovesthisHonorableCourt

      to allow him to enrollasapro selitigant.

              W HEREFORE,plaintiffrespectfully requeststhatthiscourtgranthism otion.



                                                         Respectfully subm itted,

                                                         &
                                                         Elton Lee;...
                                                         716 n ird Street
                                                         Gretna,LA 70053
                                                         (504)362-2828



                                   CERTIFICATE O F SERVICE


              1,Elton Lee,certify thata copy ofthe foregoing pleading was served on previous

       counsel,defendantand the govem m entby m ailing the sam e to each properly addressed

       and postage prepaid on this 5* day ofM ay 2021.

                                     F-Pv-
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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 26 of 72




                            UNITED STATES DISTRICT CO URT
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                                       M iam iDivision

                               CASE NO.:1:20-CV-21180-M G C


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              TH E FO REG OING CONSIDERED;

              IT IS HEREBY O RDERED thatElton Lee,

      be enrolled as a pro se litigant.


              THUS DONE AND SIGNED in M iam i,Floridathis            day of   ,
      2021.



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                                           Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 27 of 72
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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 28 of 72




                             UNITED STATES DISTRICT COURT
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                        M O TION TO ENROLL AS PRO SE LITIGANT

              NOW INTO COURT through undersigned counselcom es,GENEVIA EM ERY,

       apro selitigantm adeaparty to thiscomplaint,whorespectfully m ovesthisHonorable

       Courtto allow herto enrollasapro se litigant.

              W HEREFORE,plaintx respectfully requeststhatthiscourtgranthermotion.



                                                        Respectfully subm itted,


                                                        GeneviaEmery
                                                        716 Third Street
                                                        Gretna,LA 70053
                                                        (504)362-2828



                                   CER TIFICA TE O F SERV ICE


              1,Genevia Emery,certify that a copy ofthe foregoing pleading was served on

       previous cotmsel,defendantand the govem ment by m ailing the same to each properly

       addressed and postageprepaid onthis5thday ofM ay 2021.
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                                          G enevia Em ery
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 29 of 72




                           UNITED STATES DISTRICT COURT
                           SO UTHERN DISTRICT OF FLORIDA
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                              C A SE N O .:1:20-CV -21180-M G C


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              THE FO REGOING CONSIDERED;

              IT IS HEREBY O RDERED thatGenevia Emery,

      be enrolled as a pro se Ii
                               tigant.


              THUS DO NE AND SIGNED in M iam i,Floridathis        day of   ,
      2021.



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                  Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 30 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 31 of 72




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             NO W INTO CO URT through undersigned colmselcom es,GEM LDINE

       RILEY, apro selitigantm ade aparty to thiscomplaint,whorespectfully m ovesthis

       HonorableCourtto allow herto enrollasapro selitigant.

             W HEREFORE,plaintil respectfully requeststhatthiscourtgrantherm otion.



                                                        Respectfully subm itted,
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                                                        GeraldineRiley
                                                        716 Third Street
                                                        Gretna,LA 70053
                                                        (504)362-2828



                                  CERTIFICATE O F SERVICE


             1,Geraldine Riley,certify thata copy of the foregoing pleading was served on

       previous cotmsel,defendantand the governmentby mailing the same to each properly

       addressed andpostageprepaid onthis5thday ofM ay 2021.

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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 32 of 72




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
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                                C A SE N O .:1:20-CV -21180-M G C


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              THE FOREGOING CONSIDERED ;

              IT IS HEREBY ORDERED thatGeraldine Riley,

       be enrolled as a pro se Iitigant.


              TH US DONE AND SIGNED in M iami,Floridathis           day of   ,
      2021.



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                    Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 33 of 72




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                       M OTION TO ENROLL AS PRO SE LITIGANT

             NOW INTO CO URT through tmdersigned counselcomes,GLORIA THOM AS,

      a pro se litigantmade apartyto thiscomplaint,who respectfully movesthisHonorable

      Courtto allow herto enrollasapro selitigant.

            W HEREFO RE,plaintil respectfully requeststhatthiscourtgrantherm otion.



                                                        Respectfully submitted,

                                                       5        .     k
                                                        Gloria n om as
                                                        716 Third Street
                                                        Grem a.LA 70053
                                                        (504)362-2828



                                 C ER TIFIC A TE O F SER V IC E


             1,Gloria Thomas,certify thata copy of the foregoing pleading was served on

      previous cotmsel,defendantand the govem mentby mailing the same to each properly

      addressed and postageprepaid on this5th day ofM ay 2021.

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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 35 of 72




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    M iam iDivision

                               CASE NO.:1:20-CV-21180-M GC


                                           ORDER


              TH E FOREG OING CO NSIDERED;

              IT IS HEREBY O RDERED thatG loria Thom as,

      be enrolled as a pro se Iitigant.


              TH US DONE AND SIGNED in M iami,Floridathis    day of      ,
      2021.



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                      Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 36 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 37 of 72



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                        M OTIO N TO ENROLL A S PRO SE LITIGANT

              NO W INTO CO URT through tmdersigned counselcom es,JAH'VYRE

       M ATTHEW S, apro selitigantm adea partyto thiscomplaint,who respectfully moves

       thisHonorableCourtto allow herto enrollasapro selitigant.

              W HEREFO RE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                         Respectfully subm itted,
                                                                   f
                                                                       ro            +-.
                                                            'vyre atthew s
                                                         716 Third Street
                                                         Gretna,LA 70053
                                                         (504)362-2828



                                   CERTIFICATE O F SERVICE


              1,Jah'vyre M atthews,certify thata copy ofthe foregoing pleading wmsserved on

       previous counsel,defendantand the governmentby m ailing the snm e to each properly

       addressed and postage prepaid on this 5thday ofM ay 2021.

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                                        Jah' re M atthew s
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 38 of 72




                            UNITED STATES DISTRICT COURT
                            SOUTH ERN DISTRICT O F FLO RIDA
                                     M iam iD ivision

                                C ASE N O .: I:D -C V -CIIBII-M G C


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              T H E FO R EG O IN G C O N SID ER ED ;

              IT IS HEREBY O RDERED thatJah'vyre M atthews,

      be enrolled as a pro se litigant.


              THUS DONE AND SIGNED in M iam i,Floridathis             day of   ,
      2021.



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                     Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 39 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 40 of 72




                           UNITED STATES DISTRICT CO URT
                           SO U TH E RN D ISTR ICT O F FLO RID A          FILED BY                       D.C .
                                       M iam iD ivision
                                                                                  Ml.
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                               C ASE N O .:1:20-C V -21180-M G C
                                                                                   ANGELA E.NIIBLE
                                                                                  CLEF#K tJ.S.Dls'E cl
                                                                                  s.D.OF FLA.-MIAMI




                       M O TION TO ENROLL AS PRO SE LITIGANT

            NOW INTO COURT through undersigned counselcom es,JAM ES OSUM , a

      pro selitigantm adeapartyto thiscomplaint,who respectfully movesthisHonorable

      Courtto allow him to em ollasapro selitigant.

            W HEREFORE,plaintif respectfully requeststhatthiscourtgranthismotion.



                                                       Respectfully subm itted,

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                                                       Jam esO sum
                                                       716 Third Street
                                                       Gretna,LA 70053
                                                       (504)362-2828



                                 CERTIFICATE O F SERVICE


            1, Jnm es Osllm ,certify that a copy of the foregoing pleading was served on

      previous counsel,defendant and the governm entby m ailing the sam e to each properly

      addressed and postageprepaid on this5thday ofM ay 2021.

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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 41 of 72




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     M iam iD ivision

                               CASE NO .:1:20-CV-21180-M GC


                                           ORDER


              THE FOREGOING CONSIDERED;

              IT IS HEREBY O RDERED thatJam es O sum ,

      be enrolled as a pro se Iitigant.


              TH US DONE AND SIGNED in M iami,Floridathis     day of      ,
      2021.



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                 Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 42 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 43 of 72




                             UNITED STATES DISTRICT COURT                   FILED BY                     D.C ù
                             SOUTHERN DISTRICT OF FLORIDA
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                        M OTION TO ENROLL AS PRO SE LITIG M T

              NOW INTO COURT through tmdersigned counselcomes,JOYCE PARKER-

       OSUM ,apro se litigantmade aparty to thiscom plaint,who respectfully movesthis

       Honorable Courtto allow herto enrollas a pro se litigant.

              W HEREFO RE,plaintif respectfully requeststhatthiscourtgranthermotion.



                                                         Respectfully subm itted,

                                                                 ) -
                                                         Jo ce ker-osum
                                                                        -
                                                         716 Third Street
                                                         Grem a,LA 70053
                                                         (504)362-2828



                                   CERTIFICATE OF SERVICE


              1,Joyce Parker-osum,certify thatacopy ofthe foregoing pleading wasserved on

       previous cotmsel,defendantand the government by mailing the snme to each properly

       addressed and postageprepaid on this5th day ofM ay 2021.

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                                           yce Parker-o sum
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 44 of 72




                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT OF FLORIDA
                                     M iam iDivision

                               CASE NO.:1:20-CV-21180-M GC


                                           ORDER


              THE FOREGO ING CONSIDERED ;

              IT IS HEREBY O RDERED thatJoyce Parker-osum ,

      be enrolled as a pro se Iitigant.


              TH US DONE AND SIGNED in M iami,Floridathis     day of      ,
      2021.



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                        Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 45 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 46 of 72




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                      M OTION TO ENROLL AS PRO SE LITIGANT

            NOW INTO CO URT through undersigned counselcomes,KEAN DRYS

      DALTON,INDIVIDUALLY AND OBO LIYAH ELIOE,apro selitigantm adeaparty

      to thiscomplaint,who respectfully movesthisHonorableCourtto allow herto enrollasa

      pro se litigant,individually and on behalfofLIYAH ELIOE.

            W HEREFORE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                      Respectfully subm itted,


                                                      Keandrys alton
                                                      716 Third Street
                                                      G retna,LA 70053
                                                      (504)362-2828



                                 CERTIFICATE OF SERVICE

            1,Keandrys Dalton,certify thata copy of the foregoing pleading was served on

      previous counsel,defendantand the govem mentby mailing the snm e to each properly

      addressed andpostageprepaid on this5thday ofM ay 2021.

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                                       Kean    s D alton
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 47 of 72




                           UNITED STATES DISTRICT COURT
                           SO UTH ERN DISTRICT OF FLORIDA
                                     M iam iDivision

                              CASE NO .:1:20-CV-2118B-M G C


                                         O R D ER


               THE FOREGOING CONSIDERED;

               IT IS HEREBY O RDERED thatKeandrys Dalton,

      be enrolled as a pro se Ii
                               tigant,individually and on behalfofLiyah

      Elioe.


               THUS DONE AND SIGNED in M iam i,Florida this        day of   -   ,
      2021.



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                                   Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 48 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 49 of 72


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                       M O TIO N TO ENROLL AS PRO SE LITIGANT
             NOW INTO COURT through tmdersigned counselcomes,KEN ZIE

      M CKINNEY, apro se litigantmade aparty to thiscom plaint,who respectfully moves

      thisHonorableCourtto allow herto em ollasapro selitigant.

             W H EREFORE,plaintiffrespectfully requeststhatthiscourtgranthermotion.



                                                        Respectfully subm itted,
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                                                                     o
                                                        K enzie M cK inney
                                                        716 Tltird Street
                                                        G rem a,LA 70053
                                                        (504)362-2828



                                  CE RTIFICA TE O F SER W C E


             1,Kenzie M cKirmey,certify thata copy ofthe foregoing pleading wms served on

      previous counsel,defendantand the governm entby mailing the snm e to each properly

      addressed and postage prepaid on this5thday ofM ay 2021.
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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 50 of 72




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                          M iam iD ivision

                               CA SE NO .:1:20-CV -21180-M G C


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              THE FO REGOING CONSIDERED;

              IT IS HEREBY O RDERED thatKenzie McKinney,

      be enrolled as a pro se Iitigant.


              THUS DONE AND SIGNED in M iam i,Florida this       day of   ,
      2021.



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                    Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 51 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 52 of 72




                              UNITED STATES DISTRICT COURT
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                         M O TIO N T O EN RO LL A S PRO SE L ITIG A N T

              NOW INTO COURT through undersigned counselcomes,LA SHONDA

       TH OM PSON , a pro se litigantm ade a party to this com plaint,w ho respectfully m oves

       thisHonorable Courtto allow herto enrollasapro se litigant.

              W HEREFO RE,plaintil respectfully requeststhatthiscourtgrantherm otion.



                                                           Respectfully subm itted,


                                                          L% hondaTho pson
                                                          716 Tllird Street
                                                          Grem a,LA 70053
                                                           (504)362-2828



                                    C ER TIFIC A TE O F SER V IC E


              1,Lashonda n ompson,certify thata copy ofthe foregoing pleading was served

       on previouscounsel,defendantand the governm entby mailing the sam eto each properly

       addressed and postage prepaid on this 5thday ofM ay 2021.


                                         Lashonda Tho     son
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 53 of 72




                             IJNITED STATES DISTRICT COURT
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                                       M iam iDivision

                                CASE NO .:1:20-CV-2118B-M GC


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               TH E FO REG OIN G CONSIDERED;

               IT IS HEREBY O RDERED thatLashonda Thom pson,

       be enrolled as a pro se Iitigant.


               TH US DONE AND SIGNED in M iam i,Floridathis    day of     ,
       2021.



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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 55 of 72




                             UNITED STATESDISTRICT COURT
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                        M OTION TO ENROLL AS PRO SE LITIGANT

             NO W INTO CO URT tllrough undersigned counselcom es,LORENZO

       M OORE, apro selitigantm adea partyto thiscomplaint,who respectfully m ovesthis

       HonorableCourtto allow him to enrollasapro se litigant.

             W HEREFORE.plaintil respectfully requeststhatthiscourtgranthismotion.



                                                        Respectfully subm itted,


                                                        Lorenzo M oore
                                                        716Third Street
                                                        Gretna,LA 70053
                                                        (504)362-2828



                                  C ERTIFIC ATE O F SER V IC E


             1,Lorenzo M oore,certify that a copy of the foregoing pleading was served on

      previous counsel,defendant and the govem m entby m ailing the snm e to each properly

      addressed and postage prepaid on this 5thday ofM ay 2021.

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                                         Lorenzo M oore
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 56 of 72




                             UNITED STATES DISTRICT COURT
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                                CASE NO.:1:20-CV-21180-M G C


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               IT IS HEREBY ORDERED thatLorenzo M oore,

       be enrolled as a pro se Iitigant.


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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 58 of 72




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                        M OTION TO ENROLL AS PRO SE LITIG ANT

             NOW INTO COURT through undersi> ed cotmselcom es,M ARY STERIO G,

       apro se litigantmade aparty to thiscomplaint,who respectfullym ovesthisHonorable

       Courtto allow herto enrollasapro selitigant.

             W HEREFORE,plaintx respectfully requeststhatthiscourtgrantherm otion.



                                                          Respectfully submitted,


                                                          M ary erling
                                                          716 Third Street
                                                          G retna,LA 70053
                                                          (504)362-2828



                                  CERTIFICATE OF SERVICE

             1,M ary Sterling,certify thata copy of the foregoing pleading wms served on

       previous counsel,defendantand the governmentby mailing the snm e to each properly

       addressed andpostageprepaid onthis5* day ofM ay 2021.


                                            ary Sterlin
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 59 of 72




                             UNITED STATES DISTRICT COURT
                             SOUTH ERN DISTRICT OF FLORIDA
                                      M iam iDivision

                                CASE NO.:1:20-CV-21180-M GC


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               TH E FO REG OING CONSIDERED;

               IT IS HEREBY O RDERED thatM ary Sterling,

       be enrolled as a pro se Iitigant.


               THUS DO NE AND SIGNED in M iam i,Florida this   day of     ,
       2021.



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        Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 60 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 61 of 72




                           UNITED STATES DISTRICT COURT
                           SO U TH E RN DISTR IC T O F FLO RID A           FILED BY                    D.C .
                                       M iam iDivision

                               CA SE N O .: 1:20-C V-21180-M G C
                                                                                 MAV, 12 2221
                                                                                  ANGELA E.NOBLE
                                                                                 CLERK U.S.DIST.CT.
                                                                                 S.D.OF FI..A.-MIAMI




                       M O T IO N T O EN RO LL A S PR O SE LITIG A N T

            NOW INTO COURT through undersigned cotm selcom es,PHYLLIS

      M CDONALD, apro selitigantm adea party to thiscomplaint,whorespectfully moves

      thisHonorableCourtto allow herto enrollasapro selitigant.

            W H EREFORE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                      Respectfully subm itted,
                                                             .
                                                                   o   /
                                                      Ph isM cDonald
                                                      716 Third Street
                                                      Gretna,LA 70053
                                                      (504)362-2828



                                 CERTIFICATE O F SERVICE


            1,PhyllisM cDonald,certify thata copy ofthe foregoing pleading wasserved on

      previous counsel,defendant and the governm entby m ailing the sam e to each properly

      addressed and postageprepaid n this5thday ofM ay 2021.

                                               z
                                       PhyllisM cDonald
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 62 of 72




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      M iam iD ivision

                                CASE NO .:1:20-CV-21180-M GC


                                            O R DE R


               THE FOREGOING CONSIDERED;

               IT IS HEREBY O RDERED thatPhyllis M cDonald,

       be enrolled as a pro se Iitigant.


               TH US DONE AND SIGNED in M iam i,Florida this   day of     ,
       2021.



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                       Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 63 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 64 of 72




                            IJM TED STATES DISTRICT COURT
                            SOUTH ERN DISTRICT OF FLORIDA                 FILED BY                      D.C.
                                        M iàm iDivision
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                               C A SE N O .:1:20-CV -21180-M G C                   ANGELA E.NCBLE
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                        M O TIO N TO EN R O LL A S PR O SE LIT IG A N T

             NOW INTO COURT through tmdersigned cotmselcom es,ROSALYN

       PARKER, apro selitigantm adeaparty to thiscomplaint,who respectfully m ovesthis

       HonorableCourtto allow herto enrollmsapro selitigant.

             W H EREFORE,plaintil respectfully requeststhatthiscourtp anthermotion.



                                                       Respectfully subm itted,


                                                       Rosalyn ker
                                                       716 Third Street
                                                       G retna,LA 70053
                                                       (504)362-2828



                                  C ERTIFIC ATE O F SER VIC E


             1,Rosalyn Parker,certify thata copy of the foregoing pleading was served on

       previous counsel,defendantand the govem m entby mailing the snm e to each properly

       addressed and postageprepaid on this5tbday ofM ay 2021.


                                         R alyn Parker
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 65 of 72




                             UNITED STATES DISTRICT COURT
                             SOUTH ERN DISTRICT OF FLORIDA
                                      M iam iDivision

                                CASE NO .:1:20-CV-21180-M GC


                                            ORDER


               THE FOREGOING CONSIDERED;

               IT IS HEREBY O RDERED thatRosalyn Parker,

       be enrolled as a pro se Iitigant.


               TH US DONE AND SIGNED in M iami,Floridathis     day of     ,
       2021.



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                    Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 66 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 67 of 72




                              UNITED STATES DISTRICT COURT
                                                                              FILED BY        P&          D.C.
                              SO UTH ERN DISTRICT OF FLORIDA
                                        M iam iD ivision                             MAï 12 2221
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                                 C ASE N O .:1:20-C V -21180-M G C                   s.D.OFFLA.-MIA?di




                         M OTION TO ENRO LL AS PRO SE LITIGANT

              NOW INTO COURT through tmdersigned counselcomes,SAN DM BROW N,

       apro selitigantm adeaparty to thiscom plaint,whorespectfully m ovesthisHonorable

       Courtto allow herto em ollas a pro se litigant.

              W HEREFORE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                          Respectfully subm itted,

                                                             . - . /.
                                                                    Au> .
                                                           andraBrown
                                                          716 Third Street
                                                          Gretna,LA 70053
                                                          (504)362-2828



                                    C ER TIFIC A TE O F SER V ICE


              1,Sandra Brown,certify that a copy of the foregoing pleading wms served on

       previous counsel,defendantand the govem m entby mailing the snme to each properly

       addressed and postageprepaid on this5thday ofM ay 2021.

                                               Z-G ô m. -
                                            SandraBrown
Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 68 of 72




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      M iam iD ivision

                                CASE NO .:I:D -CV-ZIIBM-M GC


                                            ORDER


               THE FOREGOING CONSIDERED;

               IT IS HEREBY O RDERED thatSandra Brow n,

       be enrolled as a pro se Iitigant.


               TH US DONE AND SIGNED in M iami,Floridathis     day of     ,
       2021.




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                 Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 69 of 72




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Case 1:20-cv-25180-CMA Document 10 Entered on FLSD Docket 05/13/2021 Page 70 of 72




                             UNITED STATES DISTRICT COURT
                             SOUTH ERN DISTRICT O F FLO RIDA                 FILED BY                       D.C.
                                      M iam iDivision

                                CASE NO.:1:2:-CV-21180-M GC                                  12 2021
                                                                                        ANGELA ë.NOLCLE
                                                                                       CLERK U.S.DIST.CT.          '
                                                                                       S.D.OF FLA.-MI.AMI




                        M O TIO N TO EN R O LL A S PR O SE LIT IG AN T

             NOW INTO COURT through tmdersigned counselcom es,SHEILA

       W ILLIAM S,a pro selitigantmadeaparty tothiscom plaint,who respectfully moves

       thisHonorableCourtto allow herto enrollasapro se litigant.

             W HEREFORE,plaintil respectfully requeststhatthiscourtgranthermotion.



                                                        Respectfully subm itted,

                                                             Wi/4 Q1:l,l(x6.+.     .
                                                        Sheila W illinm s
                                                        716 Third Street
                                                        G retna,LA 70053
                                                        (504)362-2828



                                   CERTIFICATE OF SERVICE


              1,Sheila W illinm s,certify thata copy of the foregoing pleading was served on

       previous counsel,defendantand the government by mailing the sam e to each properly

       addressed and postageprepaid on this5thday oL.u ay 2021.

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                                         Sheila W illism s
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                             UNITED STATES DISTRICT COURT
                             SO UTH ERN DISTRICT OF FLORIDA
                                       M iamiDivision

                                CASE NO .:1:20-CV-21180-M G C


                                            O R DER


               THE FOREGOING CONSIDERED;

               IT IS HEREBY O RDERED thatSheila W illiam s,

       be enrolled as a pro se Iitigant.


               THUS DO NE AND SIGNED in M iam i,Floridathis     day of    ,
       2021.



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